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                                     UNITED STATES DISTRJCT COURT
                                                                     for the
                                                          outhem D istrict of California

              I n the M atter of the Search of                           )
         (Briefly describe the prop erty to be searched
                                                                                                  24MJ2195
                                                                         )
          or identify the person by name and address)                    )           Case N o.
              Lavender iPhone Cellular Phone                             )
              Case Number: SYS-24-06-0480                                )
                                                                         )
                    ("Target Device")
    APPLICATIO             FOR A WARRA T BY TELEPHO E OR OTH ER RELIABLE ELECTRO IC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
prop erty to be searched and give its location):
 See Attachment A, incorporated herein by reference.


located in the             Southern                District of               Californi_a_ _ _ _ , there is now concealed (identify the
person or describe the property ro be seized):

 See Attachment B, incorporated herein by reference.

          The basis for the search under Fed. R. Crim. P. 4 1(c) is (check one or more):
                 ~ evidence of a crime;
                 □ contraband, fruits of crime, or other items il legally possessed;

                 □ property designed for use, intended for use, or used in committing a crime;

                 □ a person to be arrested or a person w ho is unlaw fully restrained.

          The search is related to a violation of:
             Code Section                                                            Offense Description

        8, USC sec. 1324                           Alien Smuggling


         The applicati on is based on these facts:
        See Attached Affidavit of CBP Officer Adriana A. Burns, U.S. Customs and Border Protection, incorporated herein
        by reference.
           ~ Continued on the attached sheet.
           0 D elayed notice of          days (give exact ending dare ifmore rhan 30 days:                          ) is requested under
               18 U .S.C. § 3103a, the basis of which is set forth on the attached sheet.

                                                                                                     rY
                                                                                                 Applicant's signarure

                                                                              Adriana A. Burns, U.S. Customs and Border Protection
                                                                                                 Printed name and tirle

A ttested to by the applicant in accordance with the requirements o f Fed. R. Crim. P. 4.1 by
                       tele hone                       (specify reliable electronic means) .


Date:            06/05/2024
                                                                                                   Judge 's signarure

City and state: San Diego, California                                           Hon. DANIEL E. BUTCHER, U.S. Magistrate Judge
                                                                                                 Printed name and rille
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 1                                   ATTACHMENT A

 2
                               PROPERTY TO BE SEARCHED
 3

 4 The following property is to be searched:

 5                    Lavender iPhone Cellular Phone
                      Case Number: SYS-24-06-0480
 6
                      ("Target Device")
 7
   Target Device is currently in the custody of the Department of Homeland Security,
 8 Customs and Border Protection, 720 E. San Ysidro Blvd., San Ysidro, CA.

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                                      ATTACHMENT B
 1
                                    ITEMS TO BE SEIZED
 2

 3       Authorization to search the cellular telephone described in Attachment A
   includes the search of disks, memory cards, deleted data, remnant data, slack space, and
 4
   temporary or permanent files contained on or in the cellular telephone for evidence
 5 described below. The seizure and search of the cellular telephone shall follow the
   search methodology described in the affidavit submitted in support of the warrant.
 6

 7       The evidence to be seized from the cellular telephone will be electronic records,
   communications, and data such as emails, text messages, chats and chat logs from
 8 various third-party applications, photographs, audio files, videos, and location data, for
   the period of May 20, 2024 to June 4, 2024:
 9

10         a.    tending to indicate efforts to smuggle aliens from Mexico into the United
                 States;
11
           b.    tending to identify accounts, facilities, storage devices, and/or services-
12               such as email addresses, IP addresses, and phone numbers-used to
                 facilitate alien smuggling and transportation of smuggled aliens;
13
           C.    tending to identify co-conspirators, criminal associates, or others involved
14               in alien smuggling, or transportation of smuggled aliens;
           d.    tending to identify travel to or presence at locations involved in the
15
                 smuggling, transportation, or harboring of illegal aliens, such as stash
16               houses, load houses, or delivery points;
           e.    tending to identify the user of, or persons with control over or access to,
17               the Target Device; and/or

18         f.    tending to place in context, identify the creator or recipient of, or establish
                 the time of creation or receipt of communications, records, or data involved
19               in the activities described above,

20
     which are evidence of violations of Title 8, United States Code, Section 1324.
21
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                                            AFFIDAVIT
 1

 2              I, Adriana A. Burns, being duly sworn, hereby state as follows:

 3                                      INTRODUCTION
             1.   I submit this affidavit in support of an application for a warrant to search
 4
     the following electronic device:
 5
                          Lavender iPhone Cellular Phone
 6
                          Case Number: SYS-24-06-0480
 7                        ("Target Device")

 8
     as further described in Attachment A and to seize evidence of crime, specifically, violations
 9 of Title 8, United States Code, Section 1324 (Alien Smuggling), as further described in
     Attachment B.
10
           2.       The requested warrant relates to the investigation and prosecution of Dulce
11
     Nayeli LLANES-Luna (Defendant) for bringing unlawful aliens into the United States for
12 financial gain. The Target Device is currently in the custody of Department of Homeland
     Security, Customs and Border Protection, 720 E. San Ysidro Blvd., San Ysidro, CA.
13
           3.       The facts set forth in this affidavit are based upon my personal observations,
14
     my training and experience, and information obtained from various law enforcement
15 personnel and witnesses, including my review of reports prepared by other law
     enforcement officers and agents. This affidavit is intended to show that there is sufficient
16
     probable cause for the requested warrant and does not purport to set forth all of my
17
     knowledge of the investigation into this matter. Dates and times are approximate.
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 1                                TRAINING AND EXPERIENCE

 2         4.     I have been employed by U.S. Customs and Border Protection since 2008 and
     am currently assigned to the San Ysidro Criminal Enforcement Unit. I graduated from the
 3
     CBP Basic Academy at the Federal Law Enforcement Training Center in Glynco, Georgia.
 4
     I am a Federal Law Enforcement Officer within the meaning of Rule 4 l (a)(2)(C), Federal
 5 Rules of Criminal Procedure and have been a Federal Law Enforcement Officer for sixteen
     years. I am authorized by Rule 41(a) Federal Rules of Criminal Procedure to make
 6
     applications for search and seizure warrants and serve arrest warrants. I have experience
 7
     and have received training with respect to conducting investigations of immigration and
 8 criminal violations of Titles 8, 18, 19, and 21 of the United States Code.
           5.     My current duties involve the preparation of criminal and administrative cases
 9
     for prosecution, including the use of linking related subj ects and information via electronic
10
     equipment and telephones. In the course of my duties, I investigate and prepare for
11 prosecution cases against persons involved in the inducement, transportation, and
     harboring of illegal aliens into and within the United States; and, the utilization of illegally-
12
     obtained, counterfeit, altered or genuine immigration documents by illegal aliens to
13
     illegally gain entry or remain in the United States.
14         6.     During my tenure as a CBP Officer, I have participated in the investigation of
     a number of cases involving the smuggling of aliens from Mexico into the United States
15
     and transportation of illegal aliens within the United States, which have resulted in the
16
     issuance of arrest warrants, search warrants, seizure warrants, and the indictments of
17 persons for alien smuggling, including drivers, passengers, and guides.
           7.     Through the course of my training, investigations, and conversations with
18
     other law enforcement personnel, I have gained a working knowledge of the operational
19
     habits of alien smugglers and alien transporters, in particular those who attempt to smuggle
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                                                   2

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 1 aliens into the United States from Mexico and transport them throughout the Southern
     District of California. I am aware that it is a common practice for alien smugglers to work
 2
     in concert with other individuals and to do so by utilizing cellular telephones to maintain
 3 communications with co-conspirators and/or illegal aliens in order to further their criminal

 4 activities. Because they are mobile, the use of cellular telephones permits alien smugglers
     and transporters to easily carry out various tasks related to their smuggling activities,
 5
     including, e.g., remotely monitoring the progress of the aliens while the aliens are in transit,
 6
     providing instructions to transporters, guiding aliens to specific pick up locations, warning
 7 accomplices about law enforcement activity in the area and the status of check-point
     operations, and communicating with co-conspirators who guide aliens, coordinate drop off
 8
     locations, and/or operate alien stash houses.
 9
           8.     The smuggling of aliens generates many types of evidence, including, but not
10 limited to, cellular phone-related evidence such as voicemail messages referring to the
     arrangements of travel, names, photographs, text messaging (via SMS or other
11
     applications), and phone numbers of co-conspirators and illegal aliens. For example,
12
     drivers and passengers responsible for transporting illegal aliens are typically in telephonic
13 contact with co-conspirators immediately prior to and/or following the crossing of the
     illegal aliens at the border, at which time they receive instructions, including where to pick-
14
     up the illegal aliens for transportation into the United States and where to take the illegal
15
     aliens after crossing into the United States. These communications may also include
16 locations for delivery to stash houses and/or sponsors. Illegal aliens also are typically in
     telephonic contact with co-conspirators prior to and following their crossing in order to
17
     make smuggling arrangements, receive instructions, and report their locations after
18
     crossing. It is common for alien smugglers to be in contact with co-conspirators weeks to
19 months in advance of an event to recruit drivers and to coordinate the event. It is also
     common for co-conspirators to continue to contact each other by phone calls, social media,
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                                                     3

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 1 or messaging applications when contact is lost with the driver after an apprehension has
     occurred.
 2
           9.     Based upon my training, experience, and consultations with law enforcement
 3 officers experienced in alien smuggling investigations, and all the facts and opinions set

 4   forth in this affidavit, I know that cellular telephones (including their Subscriber Identity
     Module (SIM) card(s)) can and often do contain electronic evidence, including, for
 5
     example, phone logs and contacts, voice and text communications, and data, such as
 6
     emails, text messages, chats and chat logs from various third-party applications,
 7 photographs, audio files, videos, and location data. In particular, in my experience and
     consultation with law enforcement officers experienced in alien smuggling investigations,
 8
     I am aware that individuals engaged in alien smuggling may store photos and videos on
 9
     their cell phones that reflect or show co-conspirators and associates engaged in alien
10 smuggling, as well as images and videos with geo-location data identifyi ng alien smuggling
     transportation routes, and communications to and from recruiters and organizers.
11
           10.    This information can be stored within disks, memory cards, deleted data,
12
     remnant data, slack space, and temporary or permanent files contained on or in the cellular
13 telephone. Specifically, searches of cellular telephones may yield evidence:

14         a.     tending to indicate efforts to smuggle aliens from Mexico into the United
                  States;
15
           b.     tending to identify accounts, facilities, storage devices, and/or services- such
16                as email addresses, IP addresses, and phone numbers- used to faci litate alien
                  smuggling and transportation of smuggled aliens;
17
           C.     tending to identify co-conspirators, criminal associates, or others involved in
18
                  alien smuggling, or transportation of smuggled aliens;
19

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                                                 4

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 1         d.     tending to identify travel to or presence at locations involved in the smuggling,
                  transportation, or harboring of illegal aliens, such as stash houses, load houses,
 2
                  or delivery points;
 3
           e.     tending to identify the user of, or persons with control over or access to, the
 4                Target Device; and/or
           f.     tending to place in context, identify the creator or recipient of, or establish the
 5
                  time of creation or receipt of communications, records, or data involved in the
 6
                  activities described above.
 7                        FACTS SUPPORTING PROBABLE CAUSE
           11.    On June 4, 2024, at approximately 5:16 P.M., Dulce Nayeli LLANES-Luna
 8
     (Defendant), a United States citizen, applied for admission into the United States from
 9
     Mexico via the San Ysidro, California Port of Entry vehicle primary lanes as the driver and
10 sole visible occupant of a white Kia Sedona van bearing California license plates. A United
     States Customs and Border Protection (CBP) Canine Enforcement Officer (CEO) and his
11
     canine were conducting pre-primary roving operations when his canine alerted to the rear
12
     passenger side quarter panel of the Kia Sedona. The CBP CEO radioed for assistance and
13 another officer responded. Upon inspection before a CBP Officer, Defendant said she was
     going to San Ysidro, California with nothing to declare from Mexico. Defendant was then
14
     asked three questions in Spanish; Has anyone asked you to bring anything into the United
15
     States? Has anyone asked you to bring anything back to Mexico? And has anyone other
16 than you had control of this vehicle in the past three days? Defendant answered no to all
     three questions. The CBP CEO conducted a cursory inspection of the passenger side
17
     quarter panel and discovered a person concealed within. Defendant was placed in handcuff
18
     restraints and escorted to the security office. The vehicle was driven to the secondary
19 inspection lot by another officer.

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 1            12.   In the security office, during the interview for biographical info rmation,
     Defendant stated the vehicle belonged to her fri end and she had just received the vehicle
 2
     today.
 3            13.   In secondary, responding CBP Officers forcefully removed the plastic quarter
 4 panels to gain access to the concealed individuals. Medical first responders and Emergency
     Medical Services (EMS) were requested due to the individuals being non-responsive inside
 5
     the quarter panels. CBP Officers extracted one male and one female fro m the quarter
 6
     panels of the vehicle and provided them with water. EMS screened and medically cleared
 7 the individuals.       The male and female were later identified as Pascual Roberto
     ZACARIAS-Victoriano (MW 1), a citizen of Guatemala, and Maria Guadalupe VARGAS-
 8
     Rodriguez (MW2), a citizen of Mexico. Both individuals did not possess legal documents
 9
     to enter, pass through or remain in the United States and were held as Material Witnesses.
10            14.   During a video-recorded interview, MWl admitted to being a citizen of
     Guatemala without lawful documents to enter the United States. MWl stated he made the
11
     smuggling arrangements with an unknown person and was going to pay $20,000.00 USD
12
     upon successful entry into the United States. M W 1 stated he was traveling to Seattle,
13 Washington to find work and reunite with family.
              15.   During a video-recorded interview, MW2 admitted to being a citizen of
14
     Mexico without lawful documents to enter the United States. M W2 stated her family made
15
     the smuggling arrangements with an unknown person and she was going to pay an
16 unknown amount upon her successful entry into the United States. MW2 stated she was
     traveling to Chicago, Illinois to find work and live with family.
17
              16.   The Target Device was discovered inside the cup holder in the center console
18
     of the Kia Sedona where Defendant was the sole visible occupant in the vehicle at the time
19 of her arrest; Target Device was subsequently seized.

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 1         17.    Based upon my experience and training, consultation with other law
     enforcement officers experienced in alien smuggling investigations, and all the facts and
 2
     opinions set forth in this affidavit, I believe that telephone numbers, contact names,
 3
     electronic mail (email) addresses, appointment dates, messages, pictures and other digital
 4 information are stored in the memory of the Target Device. In light of the above facts and
     my experience and training, there is probable cause to believe that Defendant was using
 5
     the Target Device to communicate with others to further the smuggling of illegal aliens
 6
     into the United States. Further, in my training and experience, alien smugglers may be
 7 involved in the planning and coordination of transporting and smuggling events in the days
     and weeks prior to an event. Co-conspirators are also often unaware of a defendant's arrest
 8
     and will continue to attempt to communicate with a defendant after their arrest to determine
 9
     the whereabouts of the aliens. Based on my training and experience, it is also not unusual
10 for individuals, such as Defendant, to attempt to minimize the amount of time they were
     involved in their smuggling activities, and for the individuals to be involved for weeks and
11
     months longer than they claim. Accordingly, I request permission to search the Target
12
     Device for data beginning on May 20, 2024, up to and including June 4, 2024.
13                                      METHODOLOGY
           18.    It is not possible to determine, merely by knowing the cellular telephone's
14
     make, model and serial number, the nature and types of services to which the device is
15
     subscribed and the nature of the data stored on the devices. Cellular devices today can be
16 simple cellular telephones, tablets, and text message devices, can include cameras, can
     serve as personal digital assistants and have functions such as calendars and full address
17
     books and can be mini-computers allowing for electronic mail services, web services and
18 rudimentary word processing. An increasing number of cellular service providers now

19 allow for their subscribers to access their device over the internet and remotely destroy all
     of the data contained on the device. For that reason, the device may only be powered in a
20
                                                7

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 1 secure environment or, if possible, started in "flight mode" which disables access to the
     network. Unlike typical computers, many cellular telephones do not have hard drives or
 2
     hard drive equivalents and store information in volatile memory within the device or in
 3
     memory cards inserted into the device. Current technology provides some solutions for
 4 acquiring some of the data stored in some cellular telephone models using forensic
     hardware and software. Even if some of the stored information on the device may be
 5
     acquired forensically, not all of the data subject to seizure may be so acquired. For devices
 6
     that are not subject to forensic data acquisition or that have potentially relevant data stored
 7 that is not subject to such acquisition, the examiner must inspect the device manually and
     record the process and the results using digital photography. This process is time and labor
 8
     intensive and may take weeks or longer.
 9
             19.    Following the issuance of this warrant, a case agent familiar with the
10 investigation will collect the subject cellular telephone and subject it to analysis. All
     forensic analysis of the data contained within the telephone and its memory cards will
11
     employ search protocols directed exclusively to the identification and extraction of data
12
     w ithin the scope of this warrant.
13           20.    Based on the foregoing, identify ing and extracting data subj ect to seizure
     pursuant to this warrant may require a range of data analysis techniques, incl uding manual
14
     review, and, consequently, may take weeks or months. The personnel conducting the
15 identification and extraction of data will complete the analysis within ninety (90) days of

16 the date the warrant is signed, absent further application to this court.
                        PRIOR ATTEMPTS TO OBTAIN THIS EVIDENCE
17
              21.   Law enforcement has not previously attempted to obtain the evidence sought
18
     by this warrant.
19 II
     II
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 1                                       CONCLUSION
           22.    Based on the facts and information set fo1ih above, there is probable cause to
 2
     believe that a search of the Target Device will yield evidence of alien smuggling violation
 3 of Title 8, United States Code, Sections 1324.

 4         23.    Because the Target Device was seized at the time of Defendant's arrest and
     have been securely stored since that time, there is probable cause to believe that such
 5
     evidence continues to exist on the Target Device. As stated above, I believe that the
 6
     appropriate date range for this search is from May 20, 2024, through June 4, 2024.
 7         24.    Accordingly, I request that the Court issue a warrant authorizing law
     enforcement to search the item described in Attachment A and seize the items listed in
 8
     Attachment B using the above-described methodology.
 9

10         I swear the foregoing is true and correct to the best of my knowledge and belief.

11
                                                              ff
12
                                           Adriana A. Burns, CBP Officer
13
     Sworn and attested to under oath by telephone, in accordance with Federal Rule of
14
     Criminal Procedure 4.1, this 5th of June, 2024.
15

16
   HON. DANIEL E. BUTCHER
17 United States Magistrate Judge

18

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 1                                   ATTACHMENT A

 2
                               PROPERTY TO BE SEARCHED
 3

 4 The following property is to be searched:

 s                    Lavender iPhone Cellular Phone
                      Case Number: SYS-24-06-0480
 6
                      ("Target Device")
 7
   Target Device is currently in the custody of the Department of Homeland Security,
 8 Customs and Border Protection, 720 E. San Ysidro Blvd., San Ysidro, CA.

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                                      ATTACHMENT B
 1
                                    ITEMS TO BE SEIZED
 2

 3       Authorization to search the eelIular telephone described in Attachment A
   includes the search of disks, memory cards, deleted data, remnant data, slack space, and
 4
   temporary or permanent files contained on or in the cellular telephone for evidence
   described below. The seizure and search of the cellular telephone shall follow the
 5
   search methodology described in the affidavit submitted in support of the warrant.
 6

 7       The evidence to be seized from the cellular telephone will be electronic records,
   communications, and data such as emails, text messages, chats and chat logs from
 8 various third-party applications, photographs, audio files, videos, and location data, for
   the period of May 20, 2024 to June 4, 2024:
 9

10         a.    tending to indicate efforts to smuggle aliens from Mexico into the United
                 States;
11
           b.    tending to identify accounts, facilities, storage devices, and/or services-
12               such as email addresses, IP addresses, and phone numbers-used to
                 facilitate alien smuggling and transportation of smuggled aliens;
13
           C.    tending to identify co-conspirators, criminal associates, or others involved
14               in alien smuggling, or transportation of smuggled aliens;
           d.    tending to identify travel to or presence at locations involved in the
15
                 smuggling, transportation, or harboring of illegal aliens, such as stash
                 houses, load houses, or delivery points;
16
           e.    tending to identify the user of, or persons with control over or access to,
17               the Target Device; and/or

18         f.    tending to place in context, identify the creator or recipient of, or establish
                 the time of creation or receipt of communications, records, or data involved
19               in the activities described above,

20
     which are evidence of violations of Title 8, United States Code, Section 1324.
21
